Case 2:05-Cv-02071-.]PI\/|-tmp Document 10 Filed 07/07/05 Page 1 of 3 Page|D 29

F'LED EY U£€£/_., o.c.

IN THE UNITED STATES DISTRICT COURT

 

.FoR THE wEsTERN DISTRICT 0F TENNESSEE
wEsTERN DIVISION 05JUL`7 PH 3’“8
'“IWSMGOMD
GLADYS cex, C&HB%§£§E§§HHFH
Plaintiff,
v. No. 05-2071 Ml/P

UNITED STATES POSTAL SERVICE
and JOHN E. POTTER, Postmaster
General,

Defendants.

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ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.l(f), a Rule 16(b) Scheduling Order
was entered on June 15, 2005, by United States Magistrate Judge Tu
M. Pham. In accordance with the deadlines established in that
order, trial and pretrial dates are set as follows before the

District Court:

l. The jury trial in this matter, which is anticipated to
last three (3) days, is set to begin Mondayl May ll 2006
at 9:30 a.m. in courtroom no. 4.

2. A pretrial conference is set for Tuesdav, Anril 25, 2006
at 8:45 a.m.

3. The joint pretrial order and proposed jury instructions

and voir dire questions are due by no later than 4:30

p.m. on April 18, 2006.

Th|s document entered on the docket she§t In z)mp!lence
with Ru|e 58 and/or 79(a) FRCP en 7' 'O, l /O

Case 2:05-Cv-02071-.]PI\/|-tmp Document 10 Filed 07/07/05 Page 2 of 3 Page|D 30
Absent good cause, the dates established by this order shall

not be extended or modified.

IT IS SO ORDERED thiS 1 day Of July, 2005.

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O PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02071 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

